                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                            TYLER DIVISION
 IN RE:                                                     §
                                                            §      CASE NO. 18-60413
 KASHAUNA GOREE SIMON                                       §      CHAPTER 13
      DEBTOR(S)                                             §

                          OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN
TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

          Comes now JPMorgan Chase Bank, National Association (hereinafter referred to as "Chase"), a secured

creditor in the above-entitled and numbered case, filing this its Objection to Confirmation of Chapter 13 Plan, and in

support hereof represents:

    1.    The above-styled Debtor(s) filed a voluntary petition under Chapter 13 of Title 11, United States Bankruptcy

          Code, on July 1, 2018.

    2.    Debtor(s) is indebted to Chase pursuant to a promissory note secured by a recorded instrument granting a

          security interest in the real property with the address of 529 Dunmore Drive, Tyler, Texas 75703 (the

          "Property").

    3.    The Property is the Debtor(s)' principal residence.

    4.    The total amount due and owing to Chase at the time of filing was approximately $300,833.01, with pre-

          petition arrearages of approximately $62,535.37 (the "Claim").

    5.    Debtor(s) Chapter 13 Plan (the "Plan") as proposed provides only $45,000.00 to satisfy the pre-petition

          arrearage portion of the Claim.

    6.    Chase objects to confirmation of the Plan because:

                   a.        it does not comply with Section 1322(b)(2) and is not feasible because it understates the

                             amount of the Claim, including, but not limited to pre-petition arrears and the total debt

                             due and owing as of the date of filing.




OBJECTION TO PLAN                                           1                                      OTP_MainForm00
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         WHEREFORE, PREMISES CONSIDERED, Chase prays that this Court deny confirmation of the Plan

proposed by the Debtor(s), and grant Chase such other and further relief at law and in equity as is just.

                                                            Respectfully submitted,
                                                            Bonial & Associates, P.C.

                                                            /s/LynAlise K. Tannery
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OBJECTION TO PLAN                                          2                                        OTP_MainForm00
                                                                                                        7521-N-6416
                                         CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the foregoing document has been served upon the following
parties in interest either via pre-paid regular U.S. Mail or via electronic notification on or before the 23rd day of
July 2018:
Debtor's Attorney
Gordon Mosley
Attorney At Law
4411 OLD BULLARD RD STE 700
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Debtor
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Chapter 13 Trustee
John Talton
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DALLAS, TX 75207


18-60413                                                  /s/LynAlise K. Tannery
                                                          Michael J. Burns
                                                          LynAlise K. Tannery
                                                          Shelly K. Terrill
                                                          Braden Barnes




CERTIFICATE OF SERVICE
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